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                                                                       AUG   t 2 2015
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       V.                                                  REPORT & RECOMMENDATION
                                                                14-CR-214S
EDWARD GREEN,

                         Defendant.


       By Order of Judge William M. Skretny dated July 29, 2015, the above case was
referred to me, with the consent of the defendant, to take the defendant's plea of guilty
and to conduct an allocution pursuant to Rule 11 of the Federal Rules of Criminal
Procedure for a Report and Recommendation. The following is my Report and
Recommendation as to the defendant's plea of guilty.


       On August6,2015, the defendant entered a plea of guilty in this case, as set
forth in the transcript of the plea proceeding, which is transmitted with this written
Report and Recommendation. ln accordance with my oral Report and
Recommendation at the close of the plea proceeding, it is my Report and
Recommendation that the defendant's plea of guilty accords with the requirements of
Rule 11 of the Fed. R. Crim. P. and that your Honor adjudge the defendant guilty of the
offense(s) to which the guilty plea was offered.


       SO ORDERED.

Dated: Ausust  L.lro,u
        Buffalo, New York



                                           UNITED STATES MAGISTRATE JUDGE
